                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                    )        DOCKET NO. 3:13 CR 264
                                            )
              v.                            )        ORDER OF DISMISSAL
                                            )
(4) CARLOS LOPEZ HERNANDEZ                  )
A/K/A MIGUEL LOPEZ-VASQUEZ                  )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (filed on

September 18, 2013), as to the above-captioned Defendant, and as to Defendant CARLOS

LOPEZ-HERNANDEZ A/K/A MIGUEL LOPEZ-VASQUEZ said Bill of Indictment is

DISMISSED without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshals Service and the United States Attorney's Office.

                                            Signed: July 7, 2014




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